       Case: 22-50316, 02/03/2023, ID: 12645443, DktEntry: 25, Page 1 of 2




February 3, 2023


Molly Dwyer, Clerk
United States Court of Appeals for the Ninth Circuit
95 Seventh Street
San Francisco CA 94103-1526

Re:   Fed. R. App. P. 28(j) Citation to Supplemental Authorities
      United States v. Perez-Garcia, 22-50314
      Submitted and decided on January 26, 2023
      Before: Hon. Kim Wardlaw, Hon. Richard Clifton, and
      Hon. Gabriel Sanchez

Dear Ms. Dwyer:

      This week, in United States v. Rahimi, No. 21-11001, 2023 WL
1459240, at *1 (5th Cir. Feb. 2, 2023), the Fifth Circuit held that 18
U.S.C. § 922(g)(8) is facially unconstitutional under the Second
Amendment. Mr. Perez-Garcia submits this supplemental authority for
this Court’s consideration as it drafts an opinion in his case.

      Section 922(g)(8) prohibits persons subject to domestic violence
restraining orders from possessing arms. Like pretrial release
conditions, § 922(g)(8) applies only after a judge holds a hearing and
makes individualized dangerousness findings. Id. at *6. The
government in Rahimi defended § 922(g)(8) using many of the same
arguments raised here. See id. at *3–10. The Fifth Circuit rejected
them.

      First, the Fifth Circuit held that Bruen’s “law-abiding” language is
not “an implied gloss” on the Second Amendment’s scope. Id. at *4. And
by “bless[ing] the general concept of shall-issue regimes,” Bruen did not
implicitly deem constitutional every shall-issue state’s public carry
prerequisites. Id. at *3 n.5. Rather, the Second Amendment covers all
members of our “national community.” Id. at *3 (quoting District of
       Case: 22-50316, 02/03/2023, ID: 12645443, DktEntry: 25, Page 2 of 2
Molly Dwyer
Page |2

Columbia v. Heller, 554 U.S. 570, 580 (2008)). That includes people, like
Mr. Perez-Garcia, who are accused of crimes. See id. at *4

      Second, the Fifth Circuit held that “dangerousness” laws, “affray”
laws, and surety statutes were not sufficiently similar to § 922(g)(8).
“Dangerousness” laws were intended to “prevent armed rebellions” by
disarming “class[es]” or “group[s]” “thought to pose a threat to the
security of the state.” Id. at *7–8 (simplified). “Affray” laws did not
traditionally cause arms forfeiture, and they applied only after
“criminal proceedings and conviction” for “terroristic or riotous
behavior.” Id. at *9. And surety statutes “did not prohibit public carry,
much less possession of weapons, so long as the offender posted surety.”
Id. at *10.

      The same reasoning applies here. Standard Condition #4 targets
individuals who might cause harm pretrial—not groups threatening to
undermine the security of the state through armed rebellion. Mr. Perez-
Garcia has not been convicted or even accused of terroristic or riotous
behavior. And he is completely barred from possessing guns, even at
home.


Respectfully submitted,

/s/ Katie Hurrelbrink
KATIE HURRELBRINK
Appellate Attorney
Federal Defenders of San Diego, Inc.
Attorneys for Mr. Perez-Garcia
